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                      Exhibit 1
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                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


   NEW JERSEY DEPARTMENT OF
   ENVIRONMENTAL PROTECTION; THE
   COMMISSIONER OF THE NEW JERSEY                Civil Action No. 3:15-cv-6468-
   DEPARTMENT OF ENVIRONMENTAL                   (FLW-LHG)
   PROTECTION; and THE ADMINISTRATOR
   OF THE NEW JERSEY SPILL
   COMPENSATION FUND,                            CONSENT ORDER AS TO LIVINGSTON
                                                 SITE
                 Plaintiffs,

                        v.

   ATLANTIC RICHFIELD CO., et al.,

                 Defendants.


        This matter, having been opened to the Court by Plaintiffs

  New Jersey Department of Environmental Protection (“NJDEP”), the

  Commissioner of the NJDEP, and the Administrator of the New Jersey

  Spill     Compensation       Fund     (“Administrator”)      (collectively,

  “Plaintiffs”), in their named capacity and as trustee of the

  natural   resources     of   New    Jersey,   and   Defendants   Exxon   Mobil

  Corporation     and    ExxonMobil      Oil    Corporation    (collectively,

  “ExxonMobil”); and those parties, being hereinafter referred to

  individually as a “Party” and collectively as the “Parties,” having

  amicably resolved their dispute regarding the Livingston Site

  before trial hereby agree as follows:
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                           I.     LITIGATION BACKGROUND

        1.     Plaintiffs initiated this action on or around June 28,

  2007 by filing a complaint against ExxonMobil and other defendants

  in the Superior Court of the State of New Jersey, Mercer County,

  Docket MER-L-1622-07.          The matter was removed to the United States

  District Court for the District of New Jersey, and later assigned

  to the multi-district litigation in the United States District

  Court for the Southern District of New York, MDL No. 1358 (VSB)

  (“Multi-District Litigation”).              There was a remand of nineteen

  trial sites to the United States District Court for the District

  of   New   Jersey,     Civil    Action     No.   3:15-cv-6468    (FLW-LHG)       (the

  “Remanded Litigation”); the remainder of the case continues in the

  Southern District of New York.

        2.     Plaintiffs filed amended complaints; the latest was the

  Fifth      Amended     Complaint,     filed      September      28,     2018    (the

  “Complaint”).

        3.     Plaintiffs’       Complaint    includes   a     claim     for    natural

  resource damages (“NRD”), including restoration.                      Specifically,

  the Complaint includes statutory claims under the New Jersey Spill

  Compensation     and    Control     Act,    N.J.S.A.   58:10-23.11       to    -23.24

  (“Spill Act”), the New Jersey Water Pollution Control Act, N.J.S.A.

  58:10A-1 to -20 (“WPCA”), as well as common law claims for products

  liability, negligence and public nuisance. The Complaint also
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  included a claim for trespass.           This claim has been dismissed, but

  Plaintiffs reserve their appellate rights as to this claim.

         4.     This case was removed to the United States District Court

  for the District of New Jersey pursuant to 28 U.S.C. § 1446(d) and

  the Energy Policy Act of 2005, 42 U.S.C. § 745, et seq., which

  expressly authorized the removal of legal actions related to

  allegations      involving     methyl     tertiary    butyl   ether     (“MTBE”)

  contamination, and then assigned to the United States District

  Court for the Southern District of New York as part of the Multi-

  District Litigation.

         5.     As part of the Multi-District Litigation, the United

  States District Court for the Southern District of New York

  instituted a “focus site” approach to the Litigation designed to

  prepare a discrete number of sites for an initial trial.                Pursuant

  to this “focus site” approach, 20 sites were selected for trial,

  with    ten   sites   each    selected     by    Plaintiffs   and    Defendants,

  including ExxonMobil.        After dismissals and settlements, only four

  trial sites remain, and the only remaining trial site for which

  plaintiffs seek damages from ExxonMobil is the Livingston Site.

         6.     Prior to 2011, ExxonMobil was conducting investigation

  and other remediation at the Livingston Site under the direction

  and    supervision    of    NJDEP.       Since   2011,   ExxonMobil    has    been

  investigating      and     remediating    the    Livingston   Site    under   the

  direction and supervision of the LSRP, as defined herein.
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        7.    The LSRP at the Livingston Site is required to comply

  with all remediation statutes and rules and utilize NJDEP guidance

  materials when making remediation decisions.

        8.     NJDEP represents that the data collected by the LSRP

  and provided to the NJDEP demonstrates that there has been no, and

  ExxonMobil represents that it is not aware of any, discharge of

  Hazardous Substances at the Livingston Site since August 31, 2015.

                         II.    PARTIES’ OBJECTIVES

        9.     ExxonMobil, as the former owner of the Property and the

  underground storage tanks at the Property, has been performing its

  remediation    obligations     at    the    Livingston      Site    under   the

  applicable laws and technical regulations, which have contributed

  to restoration at the Livingston Site.

        10.   The Parties recognize restoration must take into account

  the remediation efforts at the Livingston Site.

        11.    SRWMP and ONRR, as a division and a bureau within NJDEP

  that oversee remediation and restoration, respectively, shall

  coordinate     to   avoid    imposing      duplicative      remediation     and

  restoration obligations on ExxonMobil at the Livingston Site.

  Accordingly,    agreement    has    been   reached    between      the   Parties

  regarding the procedure for jointly evaluating and conducting

  remediation and restoration at Livingston.

        12.   ExxonMobil’s     full    compliance      with   the     terms   and

  procedures of this Consent Order shall constitute satisfaction of
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  its remediation and restoration obligations under all applicable

  laws for discharges that occurred prior to the Effective Date at

  the Livingston Site.

        With the agreement and consent of the Parties, it is hereby

  ORDERED that the Consent Order is approved as follows:

                            III.    PARTIES BOUND

        13.   This Consent Order applies to, and is binding upon, the

  Parties.

                              IV.    DEFINITIONS

        14.   Unless otherwise expressly provided, the terms used in

  this Consent Order that are defined in the Spill Act, or in the

  regulations promulgated pursuant to the Spill Act, shall have their

  statutory or regulatory meaning.        Whenever the terms listed below

  are used in this Consent Order, the following definitions shall

  apply:

              “Claims” shall mean any and all actions, claims, causes

  of   action,    crossclaims,      counterclaims,    third-party     claims,

  interventions, demands, suits, liens, judgments, duties, rights,

  debts, obligations of any kind, whatsoever, in law or in equity,

  past, present or future, whether under state or federal law or

  under rule, regulation or administrative order, whether known or

  unknown, suspected or unsuspected, whether legal, equitable, or

  statutory, manifested or not manifested, barred or not barred by

  principles of collateral estoppel or res judicata and whether
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  asserted,    could   have    been    asserted   or    not    asserted   in   the

  Complaint, arising from discharges of           Hazardous Substances that

  occurred prior to the Effective Date of this Consent Order at the

  Livingston Site.       Claims shall also specifically include all

  product liability causes of action related to MTBE including claims

  of manufacturing defect, design defect and failure to warn.

              “Commissioner” shall mean the Commissioner of the NJDEP.

              “Complaint”      shall    mean    Plaintiffs’      Fifth    Amended

  Complaint in this Litigation.

              “Consent Order” shall mean this Consent Order.

              “Day” shall mean a calendar day unless expressly stated

  to be a Working Day.        “Working Day” shall mean a day other than a

  Saturday, Sunday, or State holiday.          In computing time under this

  Consent Order, where the last day would fall on a Saturday, Sunday,

  or State holiday, time shall run until the close of business of

  the next Working Day.

              “Defendants” shall mean each of the defendants named in

  the Complaint in this Litigation.

              “ExxonMobil” shall mean Exxon Mobil Corporation, a New

  Jersey corporation with its principal place of business at 5959

  Las   Colinas    Boulevard,     Irving,      Texas,    and    ExxonMobil     Oil

  Corporation, a New York corporation with its principal place of

  business at 5959 Las Colinas Boulevard, Irving, Texas, and their

  parent companies, officers, directors, employees, predecessors,
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  predecessors    in   interest,     parents,     successors,       successors    in

  interest and subsidiaries, except that no other party named as one

  of the other Defendants in the Complaint shall be considered a

  related entity of ExxonMobil.

             “Hazardous Substances” shall have the same meaning as

  N.J.S.A. 58:10-23.11b. of the Spill Act and shall include, but

  shall not be limited to, MTBE.

             “Litigation”      shall     mean     the    Remanded        Litigation,

  captioned New Jersey Department of Environmental Protection, et

  al. v. Amerada Hess Corp., et al., C.A. Nos. 3:07-5284 and 3:15-

  cv-06468 (FLW-LHG), the Multi-District Litigation, captioned In

  Re:   Methyl   Tertiary    Butyl     Ether    (“MTBE”)    Products       Liability

  Litigation, MDL No. 1358 (SDNY)(VSB).

             “Livingston       Site”     or       “Livingston”          shall   mean

  ExxonMobil’s former service station #31310, located at 38 East

  Mount Pleasant Avenue, Livingston, Essex County, New Jersey (the

  “Property”) and includes all other areas to which any Hazardous

  Substance discharged on the Property has migrated.

             “LSRP”    shall    mean     the     Licensed        Site    Remediation

  Professional    retained     by    ExxonMobil    for     the    Livingston    Site

  pursuant to the Administrative Requirements for the Remediation of

  Contaminated Sites, N.J.A.C. 7:26C-1.3.

             “MTBE” shall mean methyl tertiary butyl ether, neat or

  as a part of gasoline or as a contaminant of other fuel, and the
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  degradation     byproducts         of    commercial       grade     MTBE,    including

  tertiary butyl alcohol (“TBA”).

              “NJDEP”       shall     mean    the    New     Jersey       Department      of

  Environmental Protection, including the ONRR and SRP.

              “ONRR”       shall    mean     the    Office    of    Natural       Resource

  Restoration    of    the    NJDEP.         ONRR    shall     include      any   outside

  consultants     whose      opinion(s)       ONRR     deems       necessary      to    the

  restoration of the Livingston Site.

              “Paragraph” shall mean a portion of this Consent Order

  identified by an Arabic numeral or an upper case letter.

              “Plaintiffs”         shall     mean    plaintiffs       the     NJDEP,     the

  Commissioner,      and    the     Administrator      of    the    New     Jersey     Spill

  Compensation Fund, including in their capacities as described in

  paragraphs 14 to 18 of the Complaint, and any successor department,

  agency, or official.

              “SRWMP”      shall     mean    the    Site     Remediation       and     Waste

  Management Program of NJDEP.

                V.     PLAINTIFFS’ RELEASES AND RESERVATIONS

        15.   Plaintiffs hereby forever release, covenant not to sue,

  and dismiss with prejudice their Claims in this Litigation.

        16.   The release referenced in Paragraph 15 of this Consent

  is limited as follows:
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     a. Plaintiffs reserve all rights to pursue Claims based on

         ExxonMobil’s failure to satisfy any term or provision of this

         Consent Order;

     b. Plaintiffs reserve all rights to prosecute actions against

         ExxonMobil concerning criminal liability; and

     c. Plaintiffs reserve all rights to pursue Claims concerning

         ExxonMobil’s liability for any violation of federal or state

         law that occurs after the Effective Date of this Consent

         Order.

         17.    This Court retains jurisdiction to enforce the terms of

  this Consent Order.

                              VI.    PARTIES’ COVENANTS

         18.    ExxonMobil      agrees     to   continue   to   remediate       the

  Livingston Site in accordance with the Brownfield and Contaminated

  Site     Remediation    Act,       N.J.S.A.   58:10B-1   to   -31,    the     Site

  Remediation        Reform     Act,     N.J.S.A.    58:10C-1   to     -29,      the

  Administrative Requirements for the Remediation of Contaminated

  Sites, N.J.A.C. 7:26C, the Remediation Standards, N.J.A.C. 7:26D,

  and the Technical Requirements for Site Remediation, N.J.A.C.

  7:26E.       These actions to remediate pursuant to these requirements

  are referred to as “Remediation” for purposes of this Consent

  Order.

         19.    In   addition       to   continued   Remediation     pursuant    to

  Paragraph 18, ExxonMobil shall monitor the conditions and perform
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  additional         actions   at   the   Livingston   Site    to   ensure    that

  restoration will be achieved as determined by ONRR and consistent

  with the requirements set forth in any then applicable New Jersey

  statutes, NJDEP regulations, NJDEP technical guidance, and case

  law.    For the purposes of this Consent Order, actions to ensure

  that restoration will be achieved are referred to as “Restoration.”

  In the event NJDEP determines that Restoration is not being

  achieved at the Livingston Site based on the current activities

  at the Site, ExxonMobil shall confer with ONRR and shall implement

  additional Restoration, to the extent practicable, as directed by

  NJDEP, subject to the dispute resolution provisions set forth in

  Section VII below.

         20.    Any Remediation and Restoration pursuant to Paragraphs

  18   and     19,   respectively,    shall   be   conducted   so   as   to   avoid

  duplicative         tasks,   achieve     efficiencies,      and   ensure     that

  Remediation and Restoration are both ultimately achieved.

         21.    Within 60 days of the entry of this Consent Order,

  ExxonMobil will meet with ONRR to discuss any immediate Restoration

  (if any) to be undertaken.

         22.    On no less than an annual basis, ExxonMobil shall provide

  SRWMP and ONRR with an update of all Remediation and/or Restoration

  data collected at the Livingston Site.

         23.    ExxonMobil shall comply with all applicable statutes and

  regulations not specifically addressed herein.
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                           VII.     DISPUTE RESOLUTION

        24.    In    the   event       the   Parties    are   unable    to   resolve

  disagreements regarding the work described in this Consent Order,

  any Party may request in writing an in-person, technical meeting

  to discuss the disputed issue(s).

        25.    In the event the Parties are unable to resolve all

  remaining disputes by way of informal dispute resolution under

  Paragraph 24, any Party may refer remaining issues in dispute to

  NJDEP’s Office of Dispute Resolution upon seven days written notice

  to the other Party.

        26.    Any   Party    may      submit    a   three-page,   single-spaced,

  statement of dispute to the Commissioner no sooner than 30 days

  after an in-person Alternative Dispute Resolution meeting with

  NJDEP’s Office of Dispute Resolution.                The statement must include

  a certification that it is the opinion of the Party bringing the

  dispute to the Commissioner that the process in NJDEP’s Office of

  Dispute     Resolution     is   no    longer   providing    further    assistance

  towards resolving the dispute.             Within 14 days after the statement

  of dispute is submitted to the Commissioner, the other Party may

  submit a three-page, single-spaced, response.                The Commissioner’s

  Office, sua sponte or at the request of one or more of the Parties,

  may establish any further procedures it deems necessary to properly

  inform the Commissioner so that she has sufficient information to

  make an informed decision.             The parties agree that any decision
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  the Commissioner renders pursuant to this Paragraph is binding on

  the Parties and not subject to appeal. The Commissioner’s decision

  pursuant to this Paragraph shall be made in writing.

        VIII.    EFFECT OF SETTLEMENT AND CONTRIBUTION PROTECTION

         27.    This Consent Order shall apply to the Livingston Site

  only.

         28.    Nothing in this Consent Order shall be construed to

  create any rights in, or grant any cause of action to, any person

  not a party to this Consent Order.          The preceding sentence shall

  not be construed to waive or nullify any rights that any person

  not a signatory to this Consent Order may have under applicable

  law.

         29.    ExxonMobil expressly reserves all rights, including, but

  not limited to, any right to indemnification and contribution,

  defenses, claims, demands, and causes of action that ExxonMobil

  may    have   concerning   any   matter,    transaction,    or   occurrence,

  whether or not arising out of the subject matter of the Complaint,

  against any person not a party to this Consent Order.

         30.    When entered, this Consent Order shall constitute a

  judicially approved settlement within the meaning of N.J.S.A.

  58:10-23.11f.a.(2)(b) and 42 U.S.C. § 9613(f)(2) and will resolve

  the liability of the ExxonMobil to Plaintiffs for the purpose of

  providing contribution protection to ExxonMobil from contribution

  actions under Comprehensive Environmental Response, Compensation,
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  and Liability Act (“CERCLA”), the Spill Act, the Joint Tortfeasors

  Contribution     Law,   N.J.S.A.    2A:53A–1     et   seq.,   the      Comparative

  Negligence Act, N.J.S.A. 2A:15-5.1 to -5.8 or any other statute,

  regulation or common law principle related to the causes of action

  pleaded in the Complaint or matters addressed in this Consent

  Order, and for any capacity under which Plaintiffs sued related to

  the Livingston Site. The Parties agree, and by entering this

  Consent Order this Court finds, ExxonMobil is entitled, upon fully

  satisfying its obligations under this Consent Order, to protection

  from    contribution    actions     pursuant     to   Sections    113(f)(2)     of

  CERCLA, 42 U.S.C. §§ 9613(f)(2), the Spill Act, N.J.S.A. 58:10-

  23.11f.a.(2)(b), and any other statute, regulation, or common law

  principle that provides contribution rights against ExxonMobil

  with regard to the subject matter of the Complaint related to the

  Livingston Site or matters addressed in this Consent Order.

         31.    In accordance with N.J.S.A. 58:10-23.11e2 the Plaintiffs

  published a copy of the draft Consent Order on Plaintiffs’ website,

  published notice of this Consent Order in the New Jersey Register,

  and arranged for notice, as described in the following paragraph,

  to    other   parties   in   this   case   and   to   the   other      potentially

  responsible      parties.       Such   notice     included       the    following

  information:

       a. the caption of this case;

       b. the name of the Settling Defendant;
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     c. a summary of the terms of this Consent Order;

     d. that a copy of the draft Consent Order is available on DEP’s

        website; and

     e. that there are sixty (60) days to comment on the proposed

        Consent Order.

        32.   In fulfillment of N.J.S.A. 58:10-23.11e2 the Parties

  have provided written notice of this Consent Order to all other

  Defendants      remaining   in   the   case   and   to   other   potentially

  responsible parties by:

     a. ExxonMobil sending a letter to liaison defense counsel and

        serving a copy of such letter on counsel of record in the

        above captioned litigation via LexisNexis File and Serve; and

     b. ExxonMobil publishing notice in the following newspapers:

           i. Asbury Park Press;

           ii.       Atlantic City Press;

           iii.      Bergen Record;

           iv.       Burlington County Times;

           v. New Jersey Herald;

           vi.       South Jersey Times; and

           vii.      Star Ledger; and

     c. The Plaintiffs distributing a copy of the New Jersey Register

        Notice via the Site Remediation Program’s and the Office of

        Natural Resource Restoration’s websites, which the public can

        access          at         http://nj.gov/dep/srp/legal/             and
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        http://nj.gov/dep/nrr/settlements/index.html,                 respectively.

        This notice is deemed compliant with the notice requirement

        of N.J.S.A. 58:10-23.11e2.

        33.   Plaintiffs will submit this Consent Order to the Court

  for entry pursuant to Paragraph 45 below unless, as a result of

  the notice of this Consent Order pursuant to Paragraphs 31 and 32

  above, the Plaintiffs receive information that discloses facts or

  considerations        that   indicate       to   Plaintiffs,   in     their   sole

  discretion, that the Consent Order is inappropriate, improper, or

  inadequate.

               IX.      NO FINDINGS OR ADMISSIONS OF LIABILITY

        34.   Nothing      contained     in    this    Consent   Order    shall   be

  considered an admission by ExxonMobil, or a finding by Plaintiffs

  or this Court, of any wrongdoing or liability whatsoever on the

  part of ExxonMobil at the Livingston Site.

                               X.   GENERAL PROVISIONS

        35.   Plaintiffs enter into this Consent Order pursuant to the

  police powers of the State of New Jersey for the enforcement of

  the laws of the State and the protection of the public health and

  safety    and   the    environment.          Any    obligations     imposed   upon

  ExxonMobil      by    this   Consent    Order      are   continuing    regulatory

  obligations pursuant to these police powers.
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        36.   Nothing    in    this    Consent    Order    shall   be    deemed   to

  constitute preauthorization of a claim against the Spill Fund

  within the meaning of N.J.S.A. 58:10-23.11k. or N.J.A.C. 7:1J.

        37.   This Consent Order shall be governed by and interpreted

  under the laws of the State of New Jersey.

        38.   If any provision of this Consent Order or the application

  thereof to any person or circumstance, to any extent, is held to

  be invalid or unenforceable, (a) the parties hereto shall negotiate

  in good faith a valid and enforceable provision as similar in terms

  to such invalid or unenforceable provisions as may be possible and

  (b)the remainder of this Consent Order or the application of such

  provision to persons or circumstances other than those as to which

  it is held invalid or unenforceable, shall not be affected thereby

  and each provision of this Consent Order shall be valid and

  enforced to the fullest extent permitted by law.

                         XI.    ACCESS TO INFORMATION

        39.   Upon receipt of a written request by one or more of

  Plaintiffs, ONRR, and/or SRWMP, ExxonMobil shall submit or make

  available    to   Plaintiffs,       ONRR,    and/or   SRWMP   all     information

  ExxonMobil has concerning Remediation and/or Restoration at the

  Livingston     Site,     including      data,     technical      records,       and

  contractual documents.

        40.   ExxonMobil       may    assert     any      applicable     claim    of

  confidentiality or privilege for any information submitted to
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  Plaintiffs,     ONRR,    and/or      SRWMP     pursuant      to     Paragraph    39.

  ExxonMobil,     however,    agrees      not    to   assert    any    privilege    or

  confidentiality     claim   as     to   data    related      to   Livingston    Site

  conditions, sampling, or monitoring.

                              XII.     MODIFICATION

        41.   This Consent Order may only be modified by written

  agreement between the Parties with approval by this Court and

  represents the entire integrated agreement between Plaintiffs and

  ExxonMobil, and supersedes all prior negotiations, representations

  or agreements, either written or oral, with respect to the subject

  matter hereof.

        42.   Nothing in this Consent Order shall be deemed to alter

  this Court’s power to enforce, supervise, or approve modifications

  to this Consent Order.

                           XIII.     EFFECTIVE DATE

        43.   The Effective Date of this Consent Order shall be the

  date upon which this Consent Order is entered by this Court.

                    XIV.     ENTRY OF THIS CONSENT ORDER

        44.   The Parties consent to the entry of this Consent Order

  without further notice after the comment period specified in

  Paragraph 31.

        45.   Upon conclusion of the public comment period specified

  in Paragraph 31, Plaintiffs shall promptly submit this Consent

  Order to this Court for entry.
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        46.   If for any reason the Court should decline to approve

  this Consent Order in the form presented, this Consent Order is

  voidable at the sole discretion of any Party unless this Consent

  Order is modified by agreement of the Parties and the terms of the

  Consent Order not approved by the Court may not be used as evidence

  in any litigation between the Parties.

                          XV.    SIGNATORIES/SERVICE

        47.   Each   undersigned    representative     of   a   Party   to   this

  Consent Order certifies that he or she is authorized to enter into

  the terms and conditions of this Consent Order and to execute and

  legally bind such Settling Party to this Consent Order.

        48.   This Consent Order may be signed and dated in any number

  of counterparts, each of which shall be an original, and such

  counterparts shall together be one and the same Consent Order.

        49.   ExxonMobil identifies in this paragraph an agent who is

  authorized to accept service of process by mail on its behalf with

  respect to all matters arising under or relating to this Consent

  Order.    ExxonMobil agrees to accept service in this manner, and to

  waive the formal service requirements set forth in the New Jersey

  Rules of Court or Federal Rules of Civil Procedure, including

  service of a summons.

        For ExxonMobil:

        Marc Rollo, Esq.
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        Archer & Greiner P.C.

        One Centennial Square

        Haddonfield, NJ 08033

        For NJDEP:

        David Bean, Chief

        Office of Natural Resource Restoration

        NJDEP

        Mail Code 501-04

        P.O. 420

        Trenton, NJ 08625-0420



        50.     The Parties to this Consent Order agree that it was

  negotiated fairly between them at arms' length and that the final

  terms of this Consent Order shall be deemed to have been jointly

  and equally drafted by them, and that the provisions of this

  Consent Order therefore should not be construed against a Party to

  it on the grounds that the Party drafted or was more responsible

  for drafting the provision(s).



  SO ORDERED this      23rd day of   March         , 2021        .




                                             _____________________________
                                             Freda L. Wolfson, U.S.C.D.J.
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  NEW JERSEY DEPARTMENT OF ENVIRONMENTAL PROTECTION CONSENTS TO
  THE FORM AND ENTRY OF THIS ORDER




  By: ___________________________
  David E. Haymes, Director
  Division of Enforcement, Technical, and Financial Support


  Dated: ____________________




  By: _________________________
  Raymond Bukowski, Assistant Commissioner
  Natural & Historic Resources

         2/26/21
  Dated: ____________________




  NEW JERSEY SPILL COMPENSATION FUND CONSENTS TO THE FORM AND ENTRY
  OF THIS ORDER




  By: ______________________________
  David E. Haymes, Administrator
  New Jersey Spill Compensation Fund

  Dated: ____________________


  Gurbir S. Grewal,
  Attorney General of New Jersey
  Attorney for Plaintiffs
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